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13                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15 WPENGINE, INC., a Delaware corporation,            Case No. 3:24-cv-06917-AMO

16                Plaintiff,                          PROOF OF SERVICE
17
           vs.                                        Judge: Honorable Araceli Martínez-Olguín
18
   AUTOMATTIC INC., a Delaware
19 corporation; and MATTHEW CHARLES
   MULLENWEG, an individual,
20

21                Defendants.

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                                                                            Case No. 3:24-cv-06917-AMO
                                                                                   PROOF OF SERVICE
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 1                                        PROOF OF SERVICE

 2          I, Olga Slobodyanyuk, declare as follows:

 3          I am an Associate at the law firm Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

 4 Emanuel”), counsel for WPEngine, Inc. (“WPE”) in this action.

 5          On November 5, 2024, I caused to be served true copies of the following documents

 6 associated with Dkt. 46 on the interested parties in this action as follows:

 7
            COPIES OF MANUALLY FILED EXHIBIT 1 (DKT. 46-1) AND EXHIBIT 3 (DKT.
 8          46-3) TO THE DECLARATION OF OLGA SLOBODYANYUK IN SUPPORT OF
            WPENGINE, INC.’S REPLY ISO ITS MOTION FOR PRELIMINARY
 9
            INJUNCTION (DKT 46).
10

11 BY ELECTRONIC MAIL TRANSMISSION AND BY OVERNIGHT MAIL SERVICE:

12

13 By electronic mail transmission on November 5, 2024, by transmitting access to the audio-visual
   recordings contained in the aforementioned exhibits to each such person(s) at the email
14 address(es) listed below along with a FTP link.

15
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16 Michael M. Maddigan (michael.maddigan@hoganlovells.com)

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27 Automattic Inc. and
   Matthew Charles Mullenweg
28

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                                                                                         PROOF OF SERVICE
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 1 The aforementioned files were also transmitted on a USB drive in physical form by FedEx
   overnight mail to the address below:
 2
   HOGAN LOVELLS US LLP
 3
   555 Thirteenth Street NW
 4 c/o Lauren Cury
   Washington, D.C. 20004
 5 Telephone: (202) 637-5600

 6 A proof of service for this overnight mail service is enclosed herein.

 7

 8          I declare under penalty of perjury under the laws of the United States of America and the

 9 State of California that the foregoing is true and correct.

10          Executed on this 11th day of November, 2024, in San Francisco, California.

11

12                                               By /s/ Olga Slobodyanyuk
                                                   Olga Slobodyanyuk
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                                                                                      PROOF OF SERVICE
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 1                                           ATTESTATION

 2          I, Rachel Herrick Kassabian, am the ECF user whose ID and password are being used to

 3 file the above Proof of Service. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that Olga

 4 Slobodyanyuk has concurred in the aforementioned filing.

 5                                                   By /s/ Rachel Herrick Kassabian
                                                        Rachel Herrick Kassabian
 6

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